                         Case 3:18-cr-01768-KC Document 2 Filed 05/29/18 Page 1 of 2
AO 442 (REV. 12/85)


                                             United States District Court                                       FILED
                                                   Western District of Texas                                May 29 2018
                                                      El Paso Division                                     Clerk, U.S. District Court
                                                                                                           Western District of Texas


                                                                                                     By:            CR
                                                                                                                            Deputy

USA                                                                 §
                                                                    § CRIMINAL COMPLAINT
vs.                                                                 § CASE NUMBER: EP:18-M -03824(1)
                                                                    §
(1) JUAN CARLOS ORELLANA-CLAROS                                     §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about May 25, 2018 in El Paso county, in the WESTERN DISTRICT OF TEXAS defendant

did, being an alien to the United States, enter, attempt to enter, or was found in the United States after having been

previously excluded, deported, or removed from the United States without receiving permission to reapply for admission to

the United States from the Attorney General of the United States and the Secretary of Homeland Security, the successor

pursuant to Title 6, United States Code, Sections 202(3), 202(4), and 557

in violation of Title                 8              United States Code, Section(s)       1326



                  I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts: "

The DEFENDANT, Juan Carlos ORELLANA-Claros, an alien to the United States and a citizen of Honduras was

found approximately 1.43 miles east of the Bridge of the Americas Port of Entry in El Paso, Texas in the Western

District of Texas. From "

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                                    Signature of Complainant
                                                                                    Padilla, Aaron
                                                                                    Border Patrol Agent

May 29, 2018                                                                    at EL PASO, Texas
File Date                                                                          City and State




ANNE T. BERTON                                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                                      Signature of Judicial Officer
                  Case 3:18-cr-01768-KC Document 2 Filed 05/29/18 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:18-M -03824(1)

WESTERN DISTRICT OF TEXAS

(1) JUAN CARLOS ORELLANA-CLAROS

FACTS (CONTINUED)

statements made by the DEFENDANT to the arresting agent, DEFENDANT was determined to be a native and
citizen of Honduras, without immigration documents allowing him to be or remain in the United States legally.
Defendant has been previously removed from the United States to Honduras on July 24, 2007 through El Paso,
Texas. Defendant has not received permission from the Attorney General of the United States or the Secretary of
Homeland Security to reapply for admission into the United States.

Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.

IMMIGRATION HISTORY:

The DEFENDANT has been deported 1 time(s), the last one being to HONDURAS on July 24, 2007, through EL
PASO, TX.

CRIMINAL HISTORY:

NONE
